     Case: 1:17-cv-00937 Document #: 43 Filed: 06/09/17 Page 1 of 3 PageID #:608



                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                Eastern Division


SCIENTEL SOLUTIONS, LLC,
                Plaintiff,                         Civil Action No. 1:17-CV-00937

v.                                                 Judge Joan B. Gottschall

RICHARD SEIFF,
                     Defendant.


RICHARD SEIFF,
                     Counter Plaintiff,

v.

SCIENTEL SOLUTIONS, LLC and
NELSON SANTOS,
                Counter Defendants.


                                  NOTICE OF MOTION

TO: Jeffery M. Heftman
    j.heftman@gozdel.com
    Steven H. Leech
    s.leech@gozdel.com
    Gozdecki, Del Giudice, Americus, Farkas & Brocato LLP
    One East Wacker Drive, Suite 1700
    Chicago, IL 60601


       PLEASE TAKE NOTICE that on Friday, June 16, 2017, at 9:30 a.m. we shall appear

before the Honorable Judge Joan B. Gottschall or any Judge sitting in her stead, at 219 South

Dearborn Street, Courtroom 2325, Chicago, IL 60604 and shall then and there present Agreed

Motion to Approve the Consent Order and Permanent Injunction Against Defendant

Richard Seiff, a copy of which is hereby served upon you.
    Case: 1:17-cv-00937 Document #: 43 Filed: 06/09/17 Page 2 of 3 PageID #:609




Dated: June 9, 2017                   Respectfully submitted,

                                      SCIENTEL SOLUTIONS, LLC and
                                      NELSON SANTOS

                                      By their attorneys,

                                      /s/ Edward J. Naughton
                                      Edward J. Naughton
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                                      Boston, MA 02111
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                                         2
    Case: 1:17-cv-00937 Document #: 43 Filed: 06/09/17 Page 3 of 3 PageID #:610



                                 CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5(b) and Northern District of Illinois Local

Rule 5.5, counsel for Counter-Defendants Scientel Solutions, LLC and Nelson Santos certifies

that on June 9, 2017, a true and correct copy of the foregoing Notice of Motion was

electronically filed with the Clerk of Court through the ECF system, and will be sent

electronically to all counsel of record as identified on the Notice of Electronic Filing (NEF).


Dated: June 9, 2017                           Respectfully submitted,

                                              SCIENTEL SOLUTIONS, LLC and
                                              NELSON SANTOS

                                              By their attorneys,

                                              /s/ Edward J. Naughton
                                              Edward J. Naughton
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